18-200941
McCABE, WEISBERG & CONWAY, P.C.
By: Andrew M. Lubin, Esq., (Atty. I.D.# AL0814)
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Westmont, NJ 08108
(856) 858-7080
Attorneys for Movant: LoanCare, LLC
                        UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY
                                    Trenton Vicinage

 IN RE: Peter C Bell                            Case No.: 18-23437-MBK
 Edna M Bell aka Edna M Jones aka Edna
 Jones Bell                                     Chapter: 13

               Debtors                          Hearing Date: April 12, 2023
                                                Time: 9:00 a.m.

                                                Judge: Michael B. Kaplan

                                                NOTICE OF MOTION FOR RELIEF FROM
                                                THE AUTOMATIC STAY


 TO:
 Peter C Bell                                 Joseph L. Youngblood
 8 Harrison Place                             Youngblood Franklin
 Manchester Township, New Jersey 08759        1201 New Road, Suite 230
                                              Linwood, New Jersey 08221
 Edna M Bell aka Edna M Jones aka Edna
 Jones Bell
 902B N. New York Ave.
 Atlantic City, New Jersey 08401


 Albert Russo, Trustee
 Standing Chapter 13 Trustee
 CN 4853
 Trenton, New Jersey 08650-4853

       DEAR SIRS AND MADAMS:
       PLEASE TAKE NOTICE that on April 12, 2023 at 9:00 a.m., or as soon as counsel may
be heard, the undersigned attorney for the secured creditor, LoanCare, LLC, will move before
the United States Bankruptcy Court, District of New Jersey, for an Order Vacating the Automatic
Stay with respect to property known as 8 Harrison Place, Township Of Manchester, New Jersey
08759, to commence or continue its foreclosure action, by reason of the failure of the Debtors to
make regular monthly mortgage payments outside their Chapter 13 Plan.
       PLEASE TAKE FURTHER NOTICE that if you wish to contest this motion, you must
file a written response with the Clerk of the Bankruptcy Court and serve a copy of the
responding papers upon the undersigned at least seven (7) days before the date of the hearing.
       PLEASE TAKE FURTHER NOTICE that the moving party avers that no brief is
necessary as the matter does not involve complex legal issues.
       PLEASE TAKE FURTHER NOTICE that the undersigned hereby waives oral argument
and relies upon the Certifications in support of this motion unless the matter is contested.

Date: March 17, 2023
                                                   McCABE, WEISBERG & CONWAY, LLC

                                                     /s/ Andrew M. Lubin
                                                   Andrew M. Lubin, Esquire
